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            EXHIBIT 2
     Case 3:20-cv-06754-WHA Document 701-3 Filed 05/10/23 Page 2 of 9
                 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                    UNITED STATES DISTRICT COURT
2             FOR THE NORTHERN DISTRICT OF CALIFORNIA
3
4    SONOS, INC.,
5            Plaintiff,
6                 vs.          Case No. 3:21-CV-07559-WHA
7    GOOGLE LLC
8            Defendant.
     ____________________________
9    -AND-
10   GOOGLE LLC,
11           Plaintiff,
12                vs.          Case No. 3:20-CV-06754-WHA
13   SONOS, INC.,
14           Defendant.
     ___________________________
15     **ATTORNEYS' EYES ONLY - HIGHLY CONFIDENTIAL**
16             **ATTORNEYS EYES ONLY - SOURCE CODE**
17
18     ZOOM DEPOSITION OF GOOGLE's 30(b)(6) & 30(b)(1)
19                         KENNETH J. MACKAY
20   (Reported Remotely via Video & Web Videoconference)
          Sunnyvale, California (Deponent's location)
21                        Tuesday, May 10, 2022
     STENOGRAPHICALLY REPORTED BY:
22   REBECCA L. ROMANO, RPR, CSR, CCR
     California CSR No. 12546
23   Nevada CCR No. 827
     Oregon CSR No. 20-0466
24   Washington CCR No. 3491
     JOB NO. 5229656
25   PAGES 1 - 288

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                 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                    UNITED STATES DISTRICT COURT
2             FOR THE NORTHERN DISTRICT OF CALIFORNIA
3
4    SONOS, INC.,
5            Plaintiff,
6                 vs.          Case No. 3:21-CV-07559-WHA
7    GOOGLE LLC
8            Defendant.
     ____________________________
9    -AND-
10   GOOGLE LLC,
11           Plaintiff,
12                vs.          Case No. 3:20-CV-06754-WHA
13   SONOS, INC.,
14           Defendant.
     ___________________________
15
16                DEPOSITION OF KENNETH J. MACKAY, taken on
17   behalf of the Sonos, Inc., with the deponent
18   located in Sunnyvale, California, commencing at
19   9:05 a.m., Tuesday, May 10, 2022, remotely reported
20   via Video & Web Videoconference before
21   REBECCA L. ROMANO, a Certified Shorthand
22   Reporter, Certified Court Reporter, Registered
23   Professional Reporter.
24
25

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1                         APPEARANCES OF COUNSEL
2    (All parties appearing via Web Videoconference)
3
4    For the Sonos, Inc:
5            LEE SULLIVAN SHEA & SMITH LLP
6            BY:   RORY P. SHEA
7            BY:   DAVID R. GROSBY
8            Attorneys at Law
9            656 Randolph Street
10           Floor 5W
11           Chicago, Illinois 60661
12           (312) 754-9602
13           shea@ls3ip.com
14           grosby@ls3ip.com
15
16   For the Google LLC:
17           QUINN EMANUEL URQUHART & SULLIVAN, LLP
18           BY:   MARC L. KAPLAN
19           Attorney at Law
20           191 N. Wacker Drive
21           Suite 2700
22           Chicago, Illinois 60606
23           (312) 705-7400
24           marckaplan@quinnemanuel.com
25   /////

                                                                Page 3

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1                          APPEARANCES(cont'd)
2    (All parties appearing via Web Videoconference)
3
4
5    ALSO PRESENT:
6            David West, Videographer
7            Patrick Weston, Senior Litigation Counsel at
8    Google
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                                                                Page 4

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1              The court reporter may swear the witness        09:08:03

2    in and we will continue.

3              THE COURT REPORTER:      Mr. MacKay, If you

4    could raise your right hand for me, please.

5              THE DEPONENT:    (Complies.)                    09:08:07

6              THE COURT REPORTER:      You do solemnly

7    state, under penalty of perjury, that the testimony

8    you are about to give in this deposition shall be

9    the truth, the whole truth and nothing but the

10   truth?                                                    09:08:07

11             THE DEPONENT:    I do.

12

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25                                                             09:08:07

                                                                 Page 10

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1    that group is in?                                          12:24:12

2          A.     I don't think so.     Not that I can think

3    of.

4          Q.     Would it be fair to say that at that time

5    where a group has been created but not yet                 12:24:30

6    launched, that the group exists in an unlaunched

7    state?

8          A.     Yes.

9                 MR. KAPLAN:     Object to form.

10         Q.     (By Mr. Shea)     And -- and is another way   12:24:44

11   to think about that, that at the -- in the time

12   between when the group is created and when it is

13   launched, that the speaker group would be inactive?

14                MR. KAPLAN:     Object to form.

15                THE DEPONENT:     Yes, I think so.            12:25:06

16         Q.     (By Mr. Shea)     And I think we've talked

17   about this as well before, but just to clarify, you

18   agree that a speaker group is something that is

19   saved by a user in advance of being launched?

20         A.     Well, again, the -- the group might never     12:25:31

21   be launched.        Like you might never cast to the

22   group.     So it's -- I would characterize it as -- a

23   static group is something that the user configures

24   and it's saved persistently.

25         Q.     Okay.     And -- and saved prior to any       12:25:48

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1          I, Rebecca L. Romano, a Registered
2    Professional Reporter, Certified Shorthand
3    Reporter, Certified Court Reporter, do hereby
4    certify:
5          That the foregoing proceedings were taken
6    before me remotely at the time and place herein set
7    forth; that any deponents in the foregoing
8    proceedings, prior to testifying, were administered
9    an oath; that a record of the proceedings was made
10   by me using machine shorthand which was thereafter
11   transcribed under my direction; that the foregoing
12   transcript is true record of the testimony given.
13         Further, that if the foregoing pertains to the
14   original transcript of a deposition in a Federal
15   Case, before completion of the proceedings, review
16   of the transcript [X] was [ ] was not requested.
17         I further certify I am neither financially
18   interested in the action nor a relative or employee
19   of any attorney or any party to this action.
20         IN WITNESS WHEREOF, I have this date
21   subscribed my name this 13th day of May, 2022.
22
23
             <%7321,Signature%>
24           Rebecca L. Romano, RPR, CCR
25           CSR. No 12546

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                                        ERRATA SHEET

Case Names:           Google LLC v. Sonos, Inc.
                      Case No. 3:20-cv-06754-WHA

                      Sonos, Inc. v. Google LLC
                      Case No. 3:21-cv-07559-WHA

Deposition Date:      May 10, 2022


Deponent:             Kenneth MacKay (30(b)(6))

I, Kenneth MacKay, do hereby certify that I read the foregoing transcript of my testimony taken
on May 10, 2022, and further certify that it is a true and accurate record of my testimony, with
the exception of the corrections listed below:

Page       Line      Now Reads              Should Read                        Reason
                                            30(b)(6)
26         12        Numerate               Numerette                          Transcription
                                                                               error
27         13        Numerate               Numerette                          Transcription
                                                                               error
32         12        application manager    application_manager_impl           Transcription
                     ample                                                     error
34         24        ruled                  rolled                             Transcription
                                                                               error
45         15        Corelan                Korlan                             Transcription
                                                                               error
85         6         Joint                  Join                               Transcription
                                                                               error
122        13        Joint                  Join                               Transcription
                                                                               error
236        3         Receiver_name          receiver_namespace_handler.cc      Transcription
                     space_handler.cc                                          error
                                            30(b)(1)
261        15        Tabus                  Tavis                              Transcription
                                                                               error
261        15        YoungJin               Byungchul                          Transcription
                                                                               error


Dated: 2022-Jun-28                                 By: /s/ Kenneth MacKay
                                                       Kenneth MacKay


       1
